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Attorneys for Plaintiff
UNITED STATES OF AMERICA
UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

mi CROB- 00685

PLEA AGREEMENT FOR DEFENDANT
LOUIS RICARDO ARRIOLA

UNITED STATES OF AMERICA, CR No.
Plaintiff,
Vv.

LOUIS RICARDO ARRIOLA,

Defendant.

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1. This constitutes the plea agreement between LOUIS
RICARDO ARRIOLA (“defendant”) and the United States Attorney’s
Office for the Central District of California (“the USAO”) in the
investigation of telecommunications fraud committed by defendant.
This agreement is limited to the USAO and cannot bind any other
federal, state or local prosecuting, administrative or regulatory
authorities.

PLEA

2. Defendant gives up the right to indictment by a grand

jury and agrees to plead guilty to a single-count information in

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the form attached to this agreement or a substantially similar
form.
NATURE OF THE OFFENSE

3. In order for defendant to be guilty of single~-count
information, which charges aiding and abetting a violation of
Title 18, United States Code, Section 1341, the following must be
true: (1) another person committed the crime of unauthorized mail
fraud, in violation of Title 18, United States Code, Section
1341); (2) defendant knowingly and intentionally aided, counsel,
commanded, induced, or procured that person to commit the
violation of Title 18, United States Code, Section 1341; and (3)
defendant acted before the crime was committed. The elements of
a violation of Title 18, United States Code, Section 1341 are the
following: (1) someone made up a scheme or plan for obtaining
money or property by making false promises or statements; (2) the
person knew that the promises or statements were false; (3) the
promises or statements were material, that is they would
reasonably influence a person to part with money or property; (4)
the person acted with intent to defraud; and (5) the person used,
or caused to be used, the mails to carry out or attempt to carry
out an essential part of the scheme. Defendant admits that
defendant is, in fact, guilty of this offense as described in the
information.

PENALTIES AND RESTITUTION

4, The statutory maximum sentence that the Court can impose
for a violation of Title 18, United States Code, Section 1341,
is: 20 years imprisonment; a five-year period of supervised

release; a fine of $250,000 or twice the gross gain or gross loss

 

 

 
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resulting from the offense, whichever is greatest; anda
mandatory special assessment of $100.

5. Supervised release is a period of time following
imprisonment during which defendant will be subject to various
restrictions and requirements. Defendant understands that if
defendant violates one or more of the conditions of any
supervised release imposed, defendant may be returned to prison
for all or part of the term of supervised release, which could
result in defendant serving a total term of imprisonment greater
than the statutory maximum stated above.

6. Defendant also understands that, by pleading guilty,
defendant may be giving up valuable government benefits and
valuable civic rights, such as the right to vote, the right to
possess a firearm, the right to hold office, and the right to
serve on a jury.

7. Defendant further understands that the conviction in
this case may subject defendant to various collateral
consequences, including but not limited to deportation,
revocation of probation, parole, or supervised release in another
case, and suspension or revocation of a professional license.
Defendant understands that unanticipated collateral consequences
will not serve as grounds to withdraw defendant’s guilty plea.

8. Defendant understands that defendant will be required
to pay full restitution to the victims of the offenses.
Defendant agrees that, in return for the USAO’s compliance with
its obligations under this agreement, the amount of restitution
is not restricted to the amounts alleged in the count to which

defendant is pleading guilty and may include losses arising from

 

 

 
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charges not prosecuted pursuant to this agreement as well as all
relevant conduct in connection with those charges. Defendant
further agrees that defendant will not seek the discharge of any
restitution obligation, in whole or in part, in any present or
future bankruptcy proceeding.
FACTUAL BASIS

9. Defendant and the USAO agree and stipulate to the
statement of facts provided below. This statement of facts is
sufficient to support a plea of guilty to the charge described in
this agreement and to establish the sentencing guideline factors
set forth in paragraph 13 below. It is not meant to be a
complete recitation of all facts relevant to the underlying
criminal conduct or all facts known to either party that relate
to that conduct.

Beginning in or about March 2006, and continuing through at
least July 2006, in Los Angeles County, within the Central
District of California, defendant, together with others
known and unknown, knowingly and with intent to defraud
devised and executed a scheme to defraud telecommunications
service providers as to material matters, and to obtain
money and property by means of material false and fraudulent
pretenses, representations, promises, and concealment of
material facts.

Specifically, defendant, together with others, pretended to
be representatives of Saint Gobain Corporation (“Saint
Gobain”), a company headquartered in Valley Forge,
Pennsylvania, to lease office space at 167 N. Third Avenue,
Suite I, Upland, California (the “Upland Office”). Still
pretending to be representatives of Saint Gobain, defendant,
together with others, entered into telecommunications
service contracts with telecommunications service providers,
including Transnational Communications International (TNCI),
Netifice Communications, and Lightyear Network Solutions.

As a consequence, these telecommunications service providers
provided service to an entity they believed to be Saint
Gobain at the Upland Office.

On or about July 5, 2006, a TNCI representative spoke to
defendant about the unusually high international long
distance call volume appearing on the TNCI Saint Gobain

 

 

 
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account. The TNCI representative was told that the high
call volume was only temporary.

On or about July 13, 2006, a person purporting to be a
representative of Saint Gobain sent an electronic message to
a TNCI representative, copying defendant on the message.

The electronic message stated that a check had been sent via
Federal Express to TNCI to pay for Saint Gobain’s July 2006
bill. Using a tracking number that had been provided, the
TNCI representative confirmed that the Federal Express
package had indeed been mailed. Believing that it would
soon be paid, TNCI maintained active service to the TNCI
Saint Gobain account through the weekend of July 15-16,
2006. Over that weekend, a large volume of call traffic was
routed through the TNCI Saint Gobain account.

On July 17, 2006, TNCI received the Federal Express package

from Saint Gobain and discovered that the package was empty

except for a blank sheet of paper. Upon discovering that

there was no check in the package, TNCI immediately

terminated service to the TNCI Saint Gobain account.

U.S. Secret Service obtained video surveillance footage from

a FedEx Kinko’s located in Rancho Cucamonga, where the

package from Saint Gobain to TNCI was sent. A review of the

footage showed defendant and another male completing the

transaction paperwork to ship the Federal Express package to

TNCI.

TNCI, Netifice Communications, and Lightyear Network

Solutions suffered a loss in excess of $200,000 on the

fraudulent Saint Gobain accounts opened by defendant and

others.

WAIVER OF CONSTITUTIONAL RIGHTS

10. By pleading guilty, defendant gives up the following
rights:

a) The right to persist in a plea of not guilty.

b) The right to a speedy and public trial by jury.

c) The right to the assistance of legal counsel at
trial, including the right to have the Court appoint counsel for
defendant for the purpose of representation at trial. (In this
regard, defendant understands that, despite his plea of guilty,

he retains the right to be represented by counsel -- and, if

necessary, to have the court appoint counsel if defendant cannot

 

 

 
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afford counsel -- at every other stage of the proceeding.)

d) The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant
guilty beyond a reasonable doubt.

e) The right to confront and cross-examine witnesses
against defendant.

f) The right, if defendant wished, to testify on
defendant’s own behalf and present evidence in opposition to the
charges, including the right to call witnesses and to subpoena
those witnesses to testify.

g) The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

By pleading guilty, defendant also gives up any and all
rights to pursue any affirmative defenses, Fourth Amendment or
Fifth Amendment claims, and other pretrial motions that have been
filed or could be filed.

WAIVER OF DNA TESTING

11. Defendant has been advised that the government has in
its possession the following items of physical evidence that
could be subjected to DNA testing:

Federal Express package
Defendant understands that the government does not intend to
conduct DNA testing of any of these items for DNA testing.
Defendant understands that, before entering a guilty plea
pursuant to this agreement, defendant could request DNA testing
of evidence in this case. Defendant further understands that,

with respect to the offense to which defendant is pleading guilty

 

 

 
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pursuant to this agreement, defendant would have the right to
request DNA testing of evidence after conviction under the
conditions specified in 18 U.S.C. § 3600. Knowing and
understanding defendant’s right to request DNA testing, defendant
voluntarily gives up that right with respect to both the specific
items listed above and any other items of evidence there may be
in this case that might be amenable to DNA testing. Defendant
understands and acknowledges that by giving up this right,
defendant is giving up any ability to request DNA testing of
evidence in this case in the current proceeding, in any
proceeding after conviction under 18 U.S.C. § 3600, and in any
other proceeding of any type. Defendant further understands and
acknowledges that by giving up this right, defendant will never
have another opportunity to have the evidence in this case,
whether or not listed above, submitted for DNA testing, or to
employ the results of DNA testing to support a claim that
defendant is innocent of the offense to which defendant is
pleading guilty.
SENTENCING FACTORS

12. Defendant understands that the Court is required to
consider the factors set forth in 18 U.S.C. § 3553(a) (1)-(7),
including the kinds of sentence and sentencing range established
under the United States Sentencing Guidelines (“U.S.5.G.” or
“Sentencing Guidelines”), in determining defendant’s sentence.
Defendant further understands that the Sentencing Guidelines are
advisory only, and that after considering the Sentencing

Guidelines and the other § 3553(a) factors, the Court may be free

 

 

 
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to exercise its discretion to impose any reasonable sentence up
to the maximum set by statute for the crime of conviction.
13. Defendant and the USAO agree and stipulate to the

following applicable Sentencing Guidelines factors:

Base Offense Level : 7 [USSG § 2B1.1(a) (1)]
Specific Offense

Characteristics

More than $200,000

in loss : +12 [USSG § 2Bl1.1(b) (1) (G)]

The parties stipulate that the loss amount is at least $200,000;
however, the parties agree that the government can argue for an
additional +2 point increase based on a loss amount of at least
$400,000, but no more than $1,000,000. The USAO will agree to a
downward adjustment for acceptance of responsibility (and, if
applicable, move for an additional level under § 3E1.1(b)) only
if the conditions set forth in paragraph 16 are met. Defendant
reserves the right to argue for a downward adjustment pursuant to
§ 3B1.2. Subject to these terms and the terms set forth in
paragraph 14, defendant and the USAO agree not to seek, argue, or
suggest in any way, either orally or in writing, that any other
specific offense characteristics, adjustments or departures,
relating to either the applicable Offense Level or the Criminal
History Category, be imposed. If, however, after signing this
agreement but prior to sentencing, defendant were to commit an
act, or the USAO were to discover a previously undiscovered act
committed by defendant prior to signing this agreement, which
act, in the judgment of the USAO, constituted obstruction of
justice within the meaning of U.S.S.G. § 3C1.1, the USAO would be

free to seek the enhancement set forth in that section.

 

 

 
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14. Defendant and the USAO, pursuant to the factors set
forth in 18 U.S.C. § 3553(a) (1), (a) (2), (a) (3), (a) (6), and
(a) (7), further reserve the right to argue for a sentence outside
the sentencing range established by the Sentencing Guidelines.

15. The stipulations in this agreement do not bind either
the United States Probation Office or the Court. Both defendant
and the USAO are free to: (a) supplement the facts by supplying
relevant information to the United States Probation Office and
the Court, (b) correct any and all factual misstatements relating
to the calculation of the sentence, and (c) argue on appeal and
collateral review that the Court’s Sentencing Guidelines
calculations are not error, although each party agrees to
maintain its view that the calculations in paragraph 13 are
consistent with the facts of this case.

DEFENDANT’ S OBLIGATIONS

16. Defendant agrees that he will:

a) Plead guilty as set forth in this agreement.

b) Not knowingly and willfully fail to abide by all
sentencing stipulations contained in this agreement.

c) Not knowingly and willfully fail to: (1) appear for
all court appearances, (11) surrender as ordered for service of
sentence, (iii) obey all conditions of any bond, and (iv) obey
any other ongoing court order in this matter.

d) Not commit any crime; however, offenses which would
be excluded for sentencing purposes under U.S.S.G. § 4Al1.2(c) are

not within the scope of this agreement.

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e) Not knowingly and willfully fail to be truthful at
all times with Pretrial Services, the U.S. Probation Office, and
the Court.

f) Pay the applicable special assessment at or before
the time of sentencing unless defendant lacks the ability to pay
and submits a completed financial statement (form OBD-500) to the
USAO prior to sentencing.

g) Except as provided in paragraph 17.d. of this
agreement, to forfeit all right, title, and interest in all
monies, property or assets of any kind, derived from or acquired
as a result of, or used to facilitate the commission of,
defendant’s illegal activities, including all right, title and
interest in and to the following: $21,452.82 in Washington Mutual
Bank account funds seized from checking account number XXXX-
XXXXXXX618-4 (CATS ID 07-USS-000087), $2,467.64 in Golden One
Credit Union account funds from seized from checking account
number XXXXXX9240 (CATS ID 07-USS-000088), $152,000.00 in
Washington Mutual Bank account funds seized from checking account
number XXX-XXX248-8 (CATS ID 07-USSS-000089), and $5,000.00 in
Altura Credit Union account funds from seized from account number
XXX9507 (CATS ID 07-USSS-000090) .'

h) To not challenge, or assist any other person or
entity in challenging, the civil judicial forfeiture action filed
as to the property referenced in paragraph 16.g. above, entitled
United States v. $180,920.46 in Bank Funds, CV 08-2703 PA(AGRx);

i) To take whatever steps are necessary to pass to the

 

1 The account numbers have been redacted pursuant to Local Rule
79-5.4(d).

 

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United States clear title to the assets listed in paragraph 16.g.
above, including, without limitation, the completing of any other
legal documents required for the transfer of title to the United
States.

}) Not to assist any other individual or entity in any
effort falsely to contest the forfeiture of the assets described
above.

k) Not to claim that reasonable cause to seize the
assets described above was lacking.

1) That except as otherwise specifically provided in
this agreement, forfeiture of the assets described above shall
not be counted toward satisfaction of any special assessment,
fine, restitution, or any other penalty the Court may impose.

THE USAO’S OBLIGATIONS
17. If defendant complies fully with all defendant's
obligations under this agreement, the USAO agrees:

a) To abide by all sentencing stipulations contained in
this agreement.

b) At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up
to and including the time of sentencing, to recommend a two-level
reduction in the applicable sentencing guideline offense level,
pursuant to U.S.S.G. § 3E1.1, and to recommend and, if necessary,
move for an additional one-level reduction if available under
that section.

c) To recommend that defendant be sentenced to a term
of imprisonment at the low end of the applicable Sentencing

Guidelines imprisonment range provided that the total offense

 

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level as calculated by the Court is 18 or higher and provided
that the Court does not depart downward in offense level or
criminal history category. For purposes of this agreement, the
low end of the Sentencing Guidelines imprisonment range is that
defined by the Sentencing Table in U.S.S.G. Chapter 5, Part A,
without regard to reductions in the term of imprisonment that may
be permissible through the substitution of community confinement
or home detention as a result of the total offense level falling
within Zone B or Zone C of the Sentencing Table.

d) To apply the seized assets listed below to the
restitution order expected to be entered as part of defendant's
sentence:

$21,452.82 in Washington Mutual Bank account funds seized

from checking account number XXXX-XXXXXXX618-4 (CATS ID O7-

USS-000087) ;

$2,467.64 in Golden One Credit Union account funds from

seized from checking account number XXXXXX9240 (CATS ID 07-

USS-000088) ;

$152,000.00 in Washington Mutual Bank account funds seized

from checking account number XXX-XXX248-8 (CATS ID 07-USSS-

000089) and

$5,000.00 in Altura Credit Union account funds from seized

from account number XXX9507 (CATS ID 07-USSS-000090).

If no restitution order is entered, or if the total amount
above exceeds the amount of the restitution order, any excess
monies shall be forfeited to the government pursuant to paragraph

16.g. of this agreement.

 

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e) To recommend to the Department of Justice
(“Justice”) that Justice exercise its discretion (1) to grant any
Petition for Remission of forfeited assets submitted by any
victim of defendant to Justice, or alternatively, (2) to Restore
to any victim of defendant any assets that are successfully
forfeited to the government in the civil forfeiture action
identified in paragraph 16.h. above. Defendant understands that
the USAO’s recommendation is not binding upon Justice. The
government further agrees that if Justice, in its discretion,
grants Remission or Restoration to a victim listed in any order
for restitution in this case through one of the above procedures,
the amount of Remission and Restoration shall be credited towards
defendant’s restitution obligation.

BREACH OF AGREEMENT

18. If defendant, at any time after the execution of this
agreement, knowingly violates or fails to perform any of
defendant’s agreements or obligations under this agreement (“a
breach”), the USAO may declare this agreement breached. If the
USAO declares this agreement breached at any time following its
execution, and the Court finds such a breach to have occurred,
then: (a) if defendant has previously entered a guilty plea,
defendant will not be able to withdraw the guilty plea, and (b)
the USAO will be relieved of all of its obligations under this
agreement.

19. Following the Court’s finding of a knowing and willful
breach of this agreement by defendant, should the USAO elect to
pursue any charge that was either dismissed or not filed as a

result of this agreement, then:

 

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a) Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant’s signing of
this agreement and the commencement of any such prosecution or
action.

b) Defendant gives up all defenses based on the statute
of limitations, any claim of pre-indictment delay, or any speedy
trial claim with respect to any such prosecution, except to the
extent that such defenses existed as of the date of defendant’s
Signing this agreement.

c) Defendant agrees that: (i) any statements made by
defendant, under oath, at the guilty plea hearing (if such a
hearing occurred prior to the breach); (ii) the stipulated
factual basis statement in this agreement; and (iii) any evidence
derived from such statements, are admissible against defendant in
any such prosecution of defendant, and defendant shall assert no
claim under the United States Constitution, any statute, Rule 410
of the Federal Rules of Evidence, Rule 11(f) of the Federal Rules
of Criminal Procedure, or any other federal rule, that the
statements or any evidence derived from any statements should be
suppressed or are inadmissible.

LIMITED MUTUAL WAIVER OF APPEAL
20. Defendant gives up the right to appeal any sentence
imposed by the Court, including any order of restitution, and the
manner in which the sentence is determined, provided that (a) the
sentence is within the statutory maximum specified above and is
constitutional, and (b) the Court imposes a sentence within or
below the range corresponding to a total offense level of 18, and

the applicable criminal history category as determined by the

 

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Court. Notwithstanding the foregoing, defendant retains any
ability defendant has to appeal the Court’s determination of
defendant’s criminal history category and the conditions of
supervised release imposed by the Court, with the exception of
the following: conditions set forth in General Orders 318, 01-05,
and/or 05-02 of this Court; the drug testing conditions mandated
by 18 U.S.C. §§ 3563(a) (5) and 3583(d); and the alcohol and drug
use conditions authorized by 18 U.S.C. § 3563(b) (7).

21. The USAO gives up its right to appeal the sentence,
provided that (a) the sentence is within the statutory maximum
specified above and is constitutional, and (b) the Court imposes
a sentence within or above the range corresponding to a total
offense level of 18, and the applicable criminal history category
as determined by the Court.

COURT NOT A PARTY

22. The Court is not a party to this agreement and need not
accept any of the USAO’s sentencing recommendations or the
parties’ stipulations. Even if the Court ignores any sentencing
recommendation, finds facts or reaches conclusions different from
any stipulation, and/or imposes any sentence up to the maximum
established by statute, defendant cannot, for that reason,
withdraw defendant’s guilty plea, and defendant will remain bound
to fulfill all defendant’s obligations under this agreement. No
one --~ not the prosecutor, defendant’s attorney, or the Court --
can make a binding prediction or promise regarding the sentence
defendant will receive, except that it will be within the

statutory maximum.

 

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NO ADDITIONAL AGREEMENTS

23. Except as set forth herein, there are no promises,
understandings or agreements between the USAO and defendant or
defendant’s counsel. Nor may any additional agreement,
understanding or condition be entered into unless in a writing
signed by all parties or on the record in court.

PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

24. The parties agree and stipulate that this Agreement
will be considered part of the record of defendant’s guilty plea
hearing as if the entire Agreement had been read into the record
of the proceeding.

This agreement is effective upon signature by defendant and
an Assistant United States Attorney.
AGREED AND ACCEPTED

UNITED STATES ATTORNEY’S OFFICE
FOR THE CENTRAL DISTRICT OF CALIFORNIA

THOMAS P. O’BRIEN
United States Attorney

Rox dita, QA. Olver ©lIo|Qo0%
ROZEMA A. OLIVER Date
Assistant United States Attorney

I have read this agreement and carefully discussed every
part of it with my attorney. I understand the terms of this
agreement, and I voluntarily agree to those terms. My attorney
has advised me of my rights, of possible defenses, of the
sentencing factors set forth in 18 U.S.C. § 3553(a), of the
relevant Sentencing Guidelines provisions, and of the
consequences of entering into this agreement. No promises or

inducements have been given to me other than those contained in

 

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